                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-139

                                         No. COA20-164

                                     Filed 20 April 2021

     Mecklenburg County, 15 JB 511

     IN THE MATTER OF: W.M.C.M.



           Appeal by juvenile from order entered 1 April 2019 by Judge David Strickland

     in Mecklenburg County District Court. Heard in the Court of Appeals 9 March 2021.


           Attorney General Joshua H. Stein, by Special Deputy Attorney General
           Stephanie A. Brennan, for the State.

           Appellate Defender Glenn Gerding, by Assistant Appellate Defender David W.
           Andrews, for juvenile-appellant.


           TYSON, Judge.


¶1         The juvenile (“Walter”) appeals from an order, which imposed a Level 3

     disposition and committed Walter to a youth development center (“YDC”). See N.C.

     R. App. P. 42(b)(4) (permitting the use of pseudonyms to protect the identity of the

     juvenile). We affirm.

                                    I.     Background

¶2         Walter was 15 years old at the time of this dispositional hearing. He was

     diagnosed with oppositional defiant disorder, conduct disorder, ADHD, cannabis use

     disorder, and tobacco-related disorder in August 2018.
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¶3          Walter broke into a storage unit on 2 August 2018. In September 2018, Walter

     was placed into custody of the Mecklenburg County Department of Social Services

     (“DSS”) after a court determined his mother was unable to provide proper care and

     discipline over him. While in DSS custody, Walter broke into two vehicles on 1

     October 2018.

¶4          DSS placed Walter into a group home in October 2018, from which he fled. He

     was located, taken into custody, and placed into secure custody in a juvenile detention

     facility.

¶5          Several additional criminal charges and probation violations were pending

     against Walter at the time he appeared with appointed counsel at the December 2018

     adjudication hearing.

                                       A. Adjudication

¶6          Petitions alleged Walter had committed two counts of breaking and entering

     into a motor vehicle, and one count of felony breaking and entering on 31 December

     2018. As part of an agreement with the State, Walter entered an admission to the

     breaking and entering petition and one of the breaking and entering a motor vehicle

     petitions.   The State agreed to dismiss several additional pending charges,

     voluntarily dismissed a motion for review based on a probation violation and declined

     to seek additional petitions for Walter’s conduct and actions.

¶7          The court informed Walter of his constitutional and statutory rights. Based
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       upon Walter’s admissions, and after the State had provided a factual basis for the

       petitions, the court stated it was “going to adjudicate [Walter] delinquent as to the

       charge of felony breaking and entering and felony breaking and entering of a motor

       vehicle.” The trial court recorded these findings and conclusions on the Arraignment

       Order.

                                         B. Disposition

¶8           The dispositional hearing was calendared for 23 January 2019. Walter fled

       when he arrived at the courthouse. As a result of Walter’s flight, the hearing was

       rescheduled for 29 January 2019.       The juvenile court counselor recommended

       committing Walter to a YDC. After hearing arguments, the court took the matter

       under advisement and continued the case to February 2019.

¶9           The court held an emergency hearing at the request of DSS on 14 February

       2019. An attorney for DSS reported an incident where Walter punched a concrete

       wall. DSS’ attorney reported Walter was “very anxious” about the outcome of his

       case. A social worker for DSS noted that Walter had also been banging his head

       against a wall, was violent, and required restraint several times before the hearing.

       The court granted DSS’ request for medication.

¶ 10         The case was heard again on 25 February 2019. The court again continued the

       case due to an “overwhelming amount of information” regarding Walter’s actions and

       mental health.
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¶ 11         At the dispositional hearing on 26 March 2019, the juvenile court counselor

       reported Walter had again fled from his placement. The State asked the court to

       commit Walter to a YDC.          The court agreed and issued its Disposition and

       Commitment order detailing Walter’s delinquency, history of criminal acts, and

       violent and aggressive behaviors on 1 April 2019. Walter timely appealed.

                                        II.      Jurisdiction

¶ 12         Appellate jurisdiction exists pursuant to N.C. Gen. Stat. §§ 7B-2602 and 7B-

       2604 (2019).

                                              III.    Issues

¶ 13         Walter argues the trial court (1) erred by adjudicating him delinquent and

       failing to tell him that, by entering an admission, he would waive his right to

       confrontation; (2) failed to enter a sufficient adjudication order; and, (3) abused its

       discretion by imposing the highest possible disposition.

                                  IV.    Standard of Review

¶ 14         An alleged violation of a statutory mandate is a question of law and is reviewed

       de novo. In re A.M., 220 N.C. App. 136, 137, 724 S.E.2d 651, 653 (2012).

                                          V.         Analysis

                                    A. Adjudication Hearing

                                   1. Statutory Requirements

¶ 15         A trial court “may accept an admission from a juvenile only after determining
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       that the admission is the product of an informed choice.” N.C. Gen. Stat. § 7B-2407(b)

       (2019).   To ensure an admission is informed, the trial court must first, before

       accepting an admission, address the juvenile personally and:

                    (1) Inform[] the juvenile that the juvenile has a right to
                    remain silent and that any statement the juvenile makes
                    may be used against the juvenile;

                    (2) Determin[e] that the juvenile understands the nature
                    of the charge;

                    (3) Inform[] the juvenile that the juvenile has a right to
                    deny the allegations;

                    (4) Inform[] the juvenile that by the juvenile’s admissions
                    the juvenile waives the juvenile’s right to be confronted by
                    the witnesses against the juvenile;

                    (5) Determin[e] that the juvenile is satisfied with the
                    juvenile’s representation; and

                    (6) Inform[] the juvenile of the most restrictive disposition
                    on the charge.

       N.C. Gen. Stat. § 7B-2407(a) (2019).      The trial court’s failure to address these

       inquiries to the prejudice of the juvenile requires reversal of the adjudication. In re

       A.W., 182 N.C. App. 159, 161, 641 S.E.2d 354, 356 (2007).

                              2. Walter’s Delinquency Admissions

¶ 16         The following colloquy occurred between the trial court and Walter during the

       delinquency adjudication hearing:

                    THE COURT: Do you understand that in the hearing you
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have the right to not say anything about your charge, or
that any statement you make may be used as evidence
against you?

JUVENILE: Yes, sir.

....

THE COURT: And have the terms been explained to you
by your lawyer?

JUVENILE: Yes, sir.

THE COURT: And do you understand what the charges
are?

JUVENILE: Yes, sir.

THE COURT: Do you understand every part of each
charge?

JUVENILE: Yes, sir.

THE COURT: Have you and your lawyer discussed the
possible reasons why you would not be responsible for the
charge?

JUVENILE: Yes, sir.

THE COURT: And how -- are you satisfied with [your
counsel’s] help in your case?

JUVENILE: Yes, sir.

THE COURT: You understand that you have the right to
deny the charges?

JUVENILE: Yes, sir.
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THE COURT: You understand that you have the right to
have this case heard before a judge in juvenile court?

JUVENILE: Yes, sir.

THE COURT: You also understand you have the right
to ask witnesses questions during a hearing? [Emphasis
supplied].

JUVENILE: Yes, sir.

THE COURT: Do you understand that you’re admitting to
the following charges: Felony breaking and entering, which
is a Class H felony with a date of offense of August the 2nd,
2018; and felony breaking and entering of a motor vehicle,
a Class I felony, with the date of offense of October the 1st,
2018?

JUVENILE: Yes, sir.

THE COURT: Do you understand the most serious
disposition, given your history, is as follows: A Level 3
disposition, which could be the commitment to the Juvenile
Justice Section of the Division of Adult Corrections and
Juvenile Justice for placement in the Youth Development
Center for a minimum of six months and an absolute
maximum until your 18th birthday?

JUVENILE: Yes, sir.

THE COURT: Do you now personally admit the charges?

JUVENILE: Yes, sir.

THE COURT: Did you in fact commit the acts charged in
the petition? Did you do it?

JUVENILE: Yes, sir.
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¶ 17         Walter concedes the court provided all but the fourth warning set forth in the

       statute.   N.C. Gen. Stat. § 7B-2407(a)(4) (“[i]nforming the juvenile that by the

       juvenile’s admissions the juvenile waives the juvenile’s right to be confronted by the

       witnesses against the juvenile”).

¶ 18         Walter acknowledges the court told him he had the right to “ask witnesses

       questions during a hearing.” However, Walter asserts the trial court erred by failing

       to specifically tell him he would waive the right to confront witnesses by entering an

       admission.

¶ 19         Walter relies on the case of In re A.W., 182 N.C. App. at 161-62, 641 S.E.2d at

       356-57. In that case, this Court recognized the trial court had “failed to strictly

       comply with N.C. Gen. Stat. § 7B–2407.” Id. This Court reversed where the trial

       court failed to orally inform the juvenile of his rights under the first and third prongs

       of the statute. Id. This Court held “increased care must be taken to ensure complete

       understanding by juveniles regarding the consequences of admitting their guilt. At

       a very minimum, this requires asking a juvenile each of the six specifically mandated

       questions listed in N.C.G.S. § 7B–2407(a).” Id. at 162, 64 S.E.2d at 356. (emphasis

       omitted) (citations omitted).

¶ 20         Walter argues his adjudication must be reversed because the trial court did

       not follow the exact language of N.C. Gen. Stat. § 7B-2407. This Court dealt with a

       similar issue in the case of In re C.L., 217 N.C. App. 109, 719 S.E.2d 132 (2011).
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¶ 21         The issue before and reviewed by this Court in C.L. was “whether the trial

       court’s failure to make the inquiry specified in N.C. Gen. Stat. § 15A–1022(d) either

       affected [the] Juvenile’s decision to plead or undermined the plea’s validity.” Id. at

       115, 719 S.E.2d at 136 (alterations and citations omitted). In C.L., the trial court

       questioned the juvenile before his admission using the colloquy from Form AOC-J-

       410, entitled “Transcript of Admission by Juvenile.” Id. at 110, 719 S.E.2d at 133. On

       appeal, the juvenile asserted “the trial court erred by failing to determine whether

       his Alford admission represented his free and informed choice.” Id. at 113, 719 S.E.2d

       at 134.

¶ 22         This Court held that while the trial court did not strictly comply with N.C.

       Gen. Stat. § 15A–1022(d), the juvenile “had been informed of the consequences of his

       [] admission and fully understood that he would be treated as subject to the trial

       court’s dispositional authority after entering his admission.” Id. at 115, 719 S.E.2d

       at 136.

                    [T]he record developed in the trial court indicates that
                    Juvenile was adequately apprised of the consequences of
                    making his Alford admission, understood what would
                    happen if he persisted in making such an admission, and
                    made an “informed choice” to admit responsibility
                    pursuant to Alford instead of asserting the rights that
                    would have been available to him had he gone to hearing.

       Id. at 116, 719 S.E.2d at 136. (citations omitted).

¶ 23         The facts before us are similar to those in In re C.L. Prior to the State offering
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       factual support of the charges, the trial court asked Walter the questions listed on

       Form AOC-J-410 nearly verbatim:

                    THE COURT: Sir, do you make this admission of your own
                    free will, fully understanding what you are doing?

                    JUVENILE: Yes, sir.

                    THE COURT: And do you have any questions about what
                    has just been said to you or anything else connected with
                    your case?

                    JUVENILE: No, sir.

¶ 24         The trial court also gave a broader explanation to Walter of his confrontation

       rights than the exact statutory language. The statute does not require the exact

       statutory language to be used during the colloquy, but rather requires the court to

       orally and clearly inform the juvenile of his rights, which Walter affirmatively

       answered. See N.C. Gen. Stat. § 7B-2407.

¶ 25         We hold Walter “understood that he could deny the allegations and have a

       hearing and that, by admitting responsibility, he was foregoing that right.” In re C.L.

       217 N.C. App at 116, 719 S.E.2d at 136.

¶ 26         The trial court relied upon the provided Form AOC-J-410 “Transcript of

       Admission by Juvenile G.S. 7B-2407.” To reverse Walter’s admission on these facts

       would require this Court to find the officially adopted AOC “Transcript of Admission”

       form is an insufficient guide for the trial courts to use and it fails to comply with the
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       statute. Walter has failed to show any error, prejudice, or that his confrontation

       right, or any of his other rights were violated. His arguments are overruled.

                                  3. Non-persuasive Authority

¶ 27         Walter argues the trial court failed to enter a sufficient written adjudication

       order. Walter relies on an unpublished and nonbinding opinion, In re O.S.R., 255

       N.C. App. 448, 803 S.E.2d 706, 2017 WL 3864011, *1 (2017). In this case, this Court

       remanded the trial court’s adjudication of delinquency order wherein the trial court

       had failed to check box number 3 on the form adjudication order.           This Court

       remanded the order for the trial court to correct the written order to conform with its

       oral findings. Id. at * 2. The nonbinding conclusion in the opinion of In re O.S.R.

       does not impose a requirement for factual findings in adjudication orders. We dismiss

       Walter’s arguments concerning In re O.S.R.

                                   4. N.C. Gen. Stat. § 7B-2411

¶ 28         Walter also contends the trial court’s order was insufficient because the trial

       court did not use an AOC form Adjudication Order. Instead, the trial court used an

       Arraignment Order and the Transcript of Admission by Juvenile Form. No statute

       or case requires this exact form to be used. See N.C. Gen. Stat. § 7B-2411 (2019); see

       also In re J.V.J., 209 N.C. App. 737, 740, 707 S.E.2d 636, 638 (2011). We overrule

       Walter’s objection to the forms used by the trial court.

¶ 29         Further, Walter argues the trial court’s order did not comply with N.C. Gen.
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       Stat. § 7B-2411 because it did not specifically state that the allegations in the petition

       had been proven beyond a reasonable doubt. An alleged violation of a statutory

       mandate is a question of law and reviewed de novo. In re A.M., 220 N.C. App. at 137,

       724 S.E.2d at 653.

¶ 30          If the allegations in the petition have been proven beyond a reasonable doubt,

       “the court shall so state in a written order of adjudication, which shall include, but

       not be limited to, the date of the offense, the misdemeanor or felony classification of

       the offense, and the date of adjudication.” N.C. Gen. Stat. § 7B-2411.

¶ 31          In the case of In re J.V.J., this Court held the trial court’s findings were

       insufficient to support the adjudication of delinquency where the court “fail[ed] to

       include the requisite findings in its adjudication order” and “[r]ather than addressing

       the allegations in the petition in the blank area the court . . . indicate[d], through a

       fragmentary collection of words and numbers, that an offense occurred and [] state[d]

       that Joseph was ‘responsible.’” In re J.V.J., 209 N.C. App. at 740-41, 707 S.E.2d at

       638.

¶ 32          This Court specifically held N.C. Gen. Stat. § 7B-2411 “does not require the

       [trial] court to delineate each element of an offense and state in writing the evidence

       which satisfies each element.” Id. The Court further recognized: “section 7B–2411

       does not specifically require that an adjudication order contain appropriate findings

       of fact . . . . Nevertheless, at a minimum, section 7B–2411 requires a court to state
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       in a written order that the allegations in the petition have been proved [beyond a

       reasonable doubt].” Id. at 740, 707 S.E.2d at 638 (internal citations and quotation

       marks omitted).

¶ 33         In a later case, In re K.C., 226 N.C. App. 452, 460-61, 742 S.E.2d 239, 245
       (2013), this Court held the trial court’s order satisfied the minimal requirements of

       N.C. Gen. Stat. § 7B–2411. The order provided the date of the offense, that the

       assault charge was a class 2 misdemeanor, the date of the adjudication, and stated

       the court had “considered the evidence and adjudicated [the juvenile] delinquent as

       to the petition’s allegation of simple assault beyond a reasonable doubt.” Id.

¶ 34         Here, after Walter’s knowing and affirmative admissions of responsibility to

       the plea agreement offered by the State, the court made its finding after the

       prosecutor had provided the factual support and basis for the charges. The court

       wrote: “BASED UPON THE JUVENILE’S ADMISSION AND THE EVIDENCE

       PRESENTED BY THE DA, THE COURT FINDS BEYOND A REASONABLE

       DOUBT THAT THE JUVENILE[] IS ADJUDICATED DELINQUENT.”

¶ 35         Here, as in preceding cases, the trial court’s adjudication order of delinquency

       met and contained all requirements of N.C. Gen. Stat. § 7B-2411. The order was

       written, indicated the date of the offenses, the felony classification of the offenses,

       and the date of adjudication.    The trial court’s order contained factual findings

       including the juvenile’s affirmative admission of responsibility to the charges of
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       felony breaking and entering and felony breaking and entering of a motor vehicle. In

       exchange, the State agreed to dismiss multiple other charges and probation violation

       and not to seek a future petition on his other culpable conduct and actions. The

       court’s order clearly satisfies the statutory requirements. The juvenile’s arguments

       are without merit and dismissed.

                                    5. Protection of Juvenile

¶ 36         Finally, Walter argues his case should be remanded to the juvenile court

       because our court system has a greater duty to protect the rights of juveniles. “Our

       courts have consistently recognized that the State has a greater duty to protect the

       rights of a respondent in a juvenile proceeding than in a criminal prosecution.” In re

       T.E.F., 359 N.C. 570, 575, 614 S.E.2d 296, 299 (2005) (emphasis omitted) (citations

       omitted).

¶ 37         The trial court not only addressed all six prongs in the statute, but broke down

       the language for the juvenile to better comprehend and respond affirmatively to the

       questions. Walter was fully informed of the rights he was waiving, and after being

       clearly informed of his rights, he expressly agreed to take the State’s plea offer and

       admit responsibility for his actions. Walter signed the Form AOC-J-410 agreement

       after the trial court had explained his rights to him and while represented by counsel.

       The record affirmatively shows on its face Walter’s plea was knowingly and

       voluntarily entered. In re Chavis, 31 N.C. App. at 580–81, 230 S.E.2d at 199–200.
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                                     B. Dispositional Order

                                     1. Standard of Review

¶ 38         “The decision to impose a statutorily permissible disposition is vested in the

       discretion of the juvenile court and will not be disturbed absent clear evidence that

       the decision was manifestly unsupported by reason.” In re K.L.D., 210 N.C. App. 747,

       749, 709 S.E.2d 409, 411 (2011) (citing In re N.B., 167 N.C. App. 305, 605 S.E.2d 488
       (2004)). Dispositional orders are reviewed on appeal for abuse of discretion. In re

       Robinson, 151 N.C. App. 733, 737, 567 S.E.2d 227, 229 (2002).

                             2. N.C. Gen. Stat. § 7B-2501(c) Findings

¶ 39         Walter asserts the trial court abused its discretion by failing to properly

       consider each factor listed in N.C. Gen. Stat. § 7B-2501(c). After a juvenile has been

       adjudicated delinquent, the trial court is required to choose a disposition within the

       guidelines of N.C. Gen. Stat. § 7B-2508 (2019). The trial court’s decision must include

       the factors contained in N.C. Gen. Stat. § 7B-2501(c).

                    [T]he court shall select a disposition that is designed to
                    protect the public and to meet the needs and best interests
                    of the juvenile, based upon:

                           (1) The seriousness of the offense;

                           (2) The need to hold the juvenile accountable;

                           (3) The importance of protecting the public safety;

                           (4) The degree of culpability indicated by the
                           circumstances of the particular case; and
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                           (5) The rehabilitative and treatment needs of the
                           juvenile indicated by a risk and needs assessment.

       N.C. Gen. Stat. § 7B-2501(c) (2019).

¶ 40          The “trial court must consider each of the five factors in crafting an appropriate

       disposition.” In re I.W.P., 259 N.C. App. 254, 261, 815 S.E.2d 696, 702 (2018). “The

       purpose of the requirement that the court make findings of those specific facts which

       support its ultimate disposition . . . to allow a reviewing court to determine . . .

       whether the judgment and the legal conclusions which underlie it represent a correct

       application of the law.” Coble v. Coble, 300 N.C. 708, 712, 268 S.E.2d 185, 189 (1980).

¶ 41          Walter argues the trial court did not make the required findings of facts. We

       disagree. The trial court provided a thorough writing of its findings at the conclusion

       of the disposition hearing. Addressing N.C. Gen. Stat. § 7B-2501(c)(1) the seriousness

       of the offense; and § 7B-2501(c)(3) the importance of protecting the public safety, the

       trial court found: “The Juvenile admitted to two unrelated offenses of Felony

       Breaking and Entering and Breaking and Entering a Motor Vehicle. This court notes

       the Juvenile’s ongoing criminal activity has escalated from misdemeanor offenses to

       felonies.”

¶ 42          The court noted the seriousness of the offense by checking box nine of the

       disposition order indicating, “[t]he juvenile has been adjudicated for a violent or

       serious offense and Level 3 is authorized by G.S. 7B-2508.” The trial court further
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       illustrated the importance of protecting public safety by referencing Walter’s

       increasingly aggressive and assaultive behaviors toward himself and others.

¶ 43         Addressing § 7B-2501(c)(2), the need to hold the juvenile accountable, the court

       found: “The court made several attempts to work with the Juvenile and get

       appropriate services in place.” The court noted Walter had several offenses pending,

       his criminal activity was ongoing and escalating, and his aggressive and assaultive

       behaviors and language.        Further, the trial court addressed the need for

       accountability by highlighting Walter’s violent behaviors and flight which had

       consistently occurred and increased despite DSS’ ineffective interventions and

       placements.

¶ 44         Addressing § 7B-2501(c)(4), the degree of culpability indicated by the

       circumstances of the particular case, the trial court found: “this court continued

       disposition for an additional three months to give the Juvenile an opportunity to

       comply.” Further, “the Juvenile displayed aggressive and assaultive behavior and

       inappropriate language.”     Finally, the trial court found, “this Juvenile has had

       numerous evaluations” and noted Walter’s admissions to the charges, multiple

       offenses, and the escalating nature of his criminal offenses to felonies.

¶ 45         Finally, addressing § 7B-2501(c)(5), the rehabilitative and treatment needs of

       the juvenile indicated by a risk and needs assessment, the trial court considered the

       degree of culpability and flight by specifically listing Walter’s admissions, the
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       multiple occasions he went AWOL and fled from his treatment facilities, placements

       and court dates. Finally, the court stated: “Over the last month, the Juvenile’s

       behavior has improved and there has been some progress at New Hope” noting its

       belief the treatment would be helpful to Walter.

¶ 46         Throughout the course of the trial court’s history with Walter, it had

       considered and implemented multiple treatment options and lesser restraints. The

       trial court relied upon twelve (12) reports from organizations which had been working

       with Walter during the preceding years. The trial court then provided detailed

       findings of fact leading to its conclusion that Walter’s best interest and the safety of

       the public would be served by his commitment to the YDC.             After all of these

       considerations the trial court, in its discretion, found and concluded:

                      Due to the escalating nature of the Juvenile’s charges and
                      the lack of treatment due to inappropriate placement
                      options and the Juvenile’s AWOL behaviors, this Court
                      Orders that the Juvenile be committed to the Youth
                      Development Center.

¶ 47         After reviewing the overwhelming evidence contained in the trial court’s

       written findings, the dispositional order contains appropriate findings of fact which

       illustrate the failures of the less restrictive placements and methods, and Walter’s

       need for commitment. No abuse of discretion is shown. The order of the trial court

       is affirmed.

                                       VI.     Conclusion
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¶ 48         The trial court clearly informed Walter of his right to confrontation by

       following the “Transcript of Admission” form almost verbatim.        The trial court

       properly followed Form AOC-J-410 during Walter’s admissions. The court met the

       statutory requirements to include date of the offenses, the felony charges, and date

       of the adjudication, and the supporting findings beyond a reasonable doubt.

¶ 49         Finally, the trial court provided written findings of fact based upon Walter’s

       extensive criminal history and his violent and recalcitrant behaviors to support its

       conclusion of delinquency of the juvenile and disposition to commit to YDC. The

       juvenile has failed to show any prejudicial errors in the trial court’s procedures,

       orders, dispositions, or commitment. The order is affirmed. It is so ordered.

             AFFIRMED.

             Judge GORE concurs.

             Judge MURPHY dissents with separate opinion.
       No. COA20-164 – In re W.M.C.M.


             MURPHY, Judge, dissenting.


¶ 50         The Majority concludes the trial court properly adjudicated Walter delinquent.

       Supra at ¶¶ 26, 35. Based upon binding precedent, I respectfully dissent for two

       reasons: (A) the trial court’s colloquy with Walter during the adjudication hearing

       was inadequate; and (B) the trial court’s adjudication order was insufficient.

                                            ANALYSIS

                      A. Sufficiency of the Colloquy–N.C.G.S. § 7B-2407

¶ 51         The Majority determines the colloquy between the trial court and Walter met

       the requirements of N.C.G.S. § 7B-2407(a) and rests its analysis on In re A.W. and In

       re C.L. Supra at ¶¶ 24-26. N.C.G.S. § 7B-2407(a) states:

                    (a) The court may accept an admission from a juvenile only
                    after first addressing the juvenile personally and:

                    (1) Informing the juvenile that the juvenile has a right to
                    remain silent and that any statement the juvenile makes
                    may be used against the juvenile;

                    (2) Determining that the juvenile understands the nature
                    of the charge;

                    (3) Informing the juvenile that the juvenile has a right to
                    deny the allegations;

                    (4) Informing the juvenile that by the juvenile’s admissions
                    the juvenile waives the juvenile’s right to be confronted by
                    the witnesses against the juvenile;

                    (5) Determining that the juvenile is satisfied with the
                    juvenile’s representation; and

                    (6) Informing the juvenile of the most restrictive
                    disposition on the charge.
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                                        MURPHY, J., dissenting.



       N.C.G.S. § 7B-2407(a) (2019) (emphasis added). A trial court must “strictly comply

       with [N.C.G.S. § 7B-2407]” “[by, at] ‘a very minimum, . . . asking a juvenile each of the

       six specifically mandated questions listed in N.C.G.S. § 7B-2407(a).’” In re A.W., 182

       N.C. App. 159, 161-62, 641 S.E.2d 354, 356 (2007) (quoting In re T.E.F., 359 N.C. 570,

       576, 614 S.E.2d 296, 299 (2005)).

¶ 52         The Majority acknowledges the strict compliance to N.C.G.S. § 7B-2407(a)

       required by In re T.E.F. and In re A.W. to adjudicate a juvenile delinquent when the

       juvenile admits guilt, but then applies a much more lenient and inapplicable

       approach from In re C.L. to the present case. Supra at ¶¶ 19-26. According to the

       Majority’s approach, “[N.C.G.S. § 7B-2407(a)] does not require the exact statutory

       language to be used during the colloquy, but rather requires the court to orally and

       clearly inform the juvenile of his rights[.]” Supra at ¶ 24. To bolster this assertion,

       the Majority inappropriately applies In re C.L. to the present matter, where we held

       a trial court is required to “adequately apprise[] [a juvenile] of the consequences of

       making [the] admission” so the juvenile can make an “‘informed choice’ to admit

       responsibility[.]” In re C.L., 217 N.C. App. 109, 116, 719 S.E.2d 132, 136 (2011).

¶ 53         Contrary to the Majority’s interpretation, In re C.L. is inapplicable to this

       matter because N.C.G.S. § 7B-2407(a) was not at issue in that case. In In re C.L., we

       stated:

                    Although this Court has adopted a totality of the
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                                        MURPHY, J., dissenting.



                    circumstances test for use in evaluating the voluntariness
                    of guilty pleas tendered by adult defendants, this Court
                    and the Supreme Court have declined to require the use of
                    such an analysis for purposes of evaluating the sufficiency
                    of a trial court’s compliance with [N.C.G.S.] § 7B-2407.
                    However, while the strict compliance approach delineated
                    by this Court and the Supreme Court . . . rested on the
                    statutory language of [N.C.G.S.] § 7B-2407, [the juvenile’s]
                    argument in this case rests upon [N.C.G.S.] § 7B-2405(6)
                    and [N.C.G.S.] § 15A-1022(d) rather than any sort of
                    alleged noncompliance with [N.C.G.S.] § 7B-2407. For that
                    reason, the extent to which [the juvenile] is entitled to relief
                    from the trial court’s adjudication order hinges upon the
                    proper application of the totality of the circumstances test .
                    . . . Thus, the ultimate issue before us in connection with
                    [the juvenile’s] challenge to the acceptance of his admission
                    of responsibility is whether the trial court’s failure to make
                    the inquiry specified in [N.C.G.S.] § 15A-1022(d) either
                    affected [the juvenile’s] decision to plead or undermined
                    the plea’s validity.

       Id. at 115, 719 S.E.2d at 135-36 (emphasis added) (internal citations and marks

       omitted). While we applied a totality of the circumstances approach in reviewing the

       colloquy at issue in In re C.L., we were not reviewing for the trial court’s alleged

       noncompliance with N.C.G.S. § 7B-2407(a), but rather N.C.G.S. § 7B-2405(6) and

       N.C.G.S. § 15A-1022(d). Here, Walter specifically argues his colloquy did not follow

       the requirements of N.C.G.S. § 7B-2407(a). The Majority’s reliance on In re C.L. to

       reduce strict compliance with N.C.G.S. § 7B-2407(a) under In re T.E.F. and In re A.W.

       is beyond our authority.

¶ 54         Instead, the requirement of strict compliance with N.C.G.S. § 7B-2407(a) from
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                                          MURPHY, J., dissenting.



       In re T.E.F. and In re A.W. still applies to colloquies in a juvenile delinquency

       determination when the juvenile admits guilt. In re T.E.F., 359 N.C. at 576, 614

       S.E.2d at 299; In re A.W., 182 N.C. App. at 161-62, 641 S.E.2d at 356. In accordance

       with In re T.E.F., a trial court must “specifically question” the juvenile by “asking . .

       . each of the six specifically mandated questions listed in N.C.G.S. § 7B-2407(a).” In

       re T.E.F., 359 N.C. at 575-76, 614 S.E.2d at 299. Our Supreme Court referred to the

       “six specific steps” in N.C.G.S. § 7B-2407(a) not only as “paramount” and “necessary,”

       but also as “mandatory language” when a trial court accepts “a juvenile’s admission

       as to guilt during an adjudicatory hearing[,]” and are not “mere suggestions or a

       general guide for our trial courts[.]” Id. at 574-75, 614 S.E.2d at 298-99.                Our

       Supreme Court “recognized . . . the State has a greater duty to protect the rights of a

       respondent in a juvenile proceeding than in a criminal prosecution[,]” and those

       “juvenile rights would certainly be undermined by ignoring the mandatory language

       of N.C.G.S. § 7B-2407[.]” Id. at 575, 614 S.E.2d at 299 (internal citations and marks

       omitted).1

¶ 55          Here, the trial court did not comply with the requirements of N.C.G.S. § 7B-




              1 In applying a totality of the circumstances approach, the Majority applies the
       approach suggested by Judge Levinson’s dissenting opinion when that matter was before this
       Court, an approach rejected by us and our Supreme Court. In re T.E.F., 167 N.C. App. 1, 11-
       14, 604 S.E.2d 348, 354-56 (2004) (Levinson, J., dissenting), aff’d, In re T.E.F., 359 N.C. 570,
       614 S.E.2d 296.
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       2407(a)(4); specifically, the trial court did not ask Walter whether he understood that

       by his “admissions [he] waive[d] [his] right to be confronted by the witnesses against

       [him.]” N.C.G.S. § 7B-2407(a)(4) (2019) (emphasis added). Instead, the trial court

       asked Walter whether he understood he had “the right to ask witnesses questions

       during a hearing[.]” This is not what In re T.E.F. requires.

¶ 56         The trial court deviated from the language of N.C.G.S. § 7B-2407(a)(4) in an

       apparent attempt to explain Walter’s rights, but, in doing so, the trial court did not

       specifically state Walter had a right to be confronted by witnesses against him. The

       right to confront the witnesses against oneself is a greater right than to ask questions

       of the witnesses the State chooses to call. In Coy v. Iowa, the United States Supreme

       Court discussed the Confrontation Clause, observing:

                    The Sixth Amendment gives a criminal defendant the right
                    “to be confronted with the witnesses against him.” This
                    language “comes to us on faded parchment,” California v.
                    Green, 399 U.S. 149, 174, 90 S.Ct. 1930, 1943, 26 L.Ed.2d
                    489 (1970) (Harlan, J., concurring), with a lineage that
                    traces back to the beginnings of Western legal culture.
                    There are indications that a right of confrontation existed
                    under Roman law.          The Roman Governor Festus,
                    discussing the proper treatment of his prisoner, Paul,
                    stated: “It is not the manner of the Romans to deliver any
                    man up to die before the accused has met his accusers face
                    to face, and has been given a chance to defend himself
                    against the charges.” Acts 25:16. It has been argued that
                    a form of the right of confrontation was recognized in
                    England well before the right to jury trial. Pollitt, The
                    Right of Confrontation: Its History and Modern Dress, 8
                    J.Pub.L. 381, 384–387 (1959).
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                    MURPHY, J., dissenting.



Most of this Court’s encounters with the Confrontation
Clause have involved either the admissibility of out-of-
court statements, [see], e.g., Ohio v. Roberts, 448 U.S. 56,
100 S.Ct. 2531, 65 L.Ed.2d 597 (1980); Dutton v. Evans, 400
U.S. 74, 91 S.Ct. 210, 27 L.Ed.2d 213 (1970), or restrictions
on the scope of cross-examination, Delaware v. Van
Arsdall, 475 U.S. 673, 106 S.Ct. 1431, 89 L.Ed.2d 674(1986); Davis v. Alaska, 415 U.S. 308, 94 S.Ct. 1105, 39
L.Ed.2d 347 (1974). Cf. Delaware v. Fensterer, 474 U.S. 15,
18–19, 106 S.Ct. 292, 294, 88 L.Ed.2d 15 (1985) (per curiam
) (noting these two categories and finding neither
applicable). The reason for that is not, as the State
suggests, that these elements are the essence of the
Clause’s protection—but rather, quite to the contrary, that
there is at least some room for doubt (and hence litigation)
as to the extent to which the Clause includes those
elements, whereas, as Justice Harlan put it, “[s]imply as a
matter of English” it confers at least “a right to meet face
to face all those who appear and give evidence at trial.”
California v. Green, supra, at 175, 90 S.Ct., at 1943–1944.
Simply as a matter of Latin as well, since the word
“confront” ultimately derives from the prefix “con-” (from
“contra” meaning “against” or “opposed”) and the noun
“frons” (forehead). Shakespeare was thus describing the
root meaning of confrontation when he had Richard the
Second say: “Then call them to our presence—face to face,
and frowning brow to brow, ourselves will hear the accuser
and the accused freely speak[. . .].” Richard II, Act 1, sc. 1.

We have never doubted, therefore, that the Confrontation
Clause guarantees the defendant a face-to-face meeting
with witnesses appearing before the trier of fact. [See]
Kentucky v. Stincer, 482 U.S. 730, 748, 749–750, 107 S.Ct.
2658, 2668, 96 L.Ed.2d 631 (1987) (MARSHALL, J.,
dissenting). For example, in Kirby v. United States, 174
U.S. 47, 55, 19 S.Ct. 574, 577, 43 L.Ed. 890 (1899), which
concerned the admissibility of prior convictions of
codefendants to prove an element of the offense of receiving
stolen Government property, we described the operation of
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                   MURPHY, J., dissenting.



the Clause as follows: “[A] fact which can be primarily
established only by witnesses cannot be proved against an
accused [. . .] except by witnesses who confront him at the
trial, upon whom he can look while being tried, whom he is
entitled to cross-examine, and whose testimony he may
impeach in every mode authorized by the established rules
governing the trial or conduct of criminal cases.” Similarly,
in Dowdell v. United States, 221 U.S. 325, 330, 31 S.Ct. 590,
592, 55 L.Ed. 753 (1911), we described a provision of the
Philippine Bill of Rights as substantially the same as the
Sixth Amendment, and proceeded to interpret it as
intended “to secure the accused the right to be tried, so far
as facts provable by witnesses are concerned, by only such
witnesses as meet him face to face at the trial, who give
their testimony in his presence, and give to the accused an
opportunity of cross-examination.” More recently, we have
described the “literal right to ‘confront’ the witness at the
time of trial” as forming “the core of the values furthered
by the Confrontation Clause.” California v. Green, supra,
at 157, 90 S.Ct., at 1934–1935. Last Term, the plurality
opinion in Pennsylvania v. Ritchie, 480 U.S. 39, 51, 107
S.Ct. 989, 998, 94 L.Ed.2d 40 (1987), stated that “[t]he
Confrontation Clause provides two types of protections for
a criminal defendant: the right physically to face those who
testify against him, and the right to conduct cross-
examination.”

The Sixth Amendment’s guarantee of face-to-face
encounter between witness and accused serves ends
related both to appearances and to reality. This opinion is
embellished with references to and quotations from
antiquity in part to convey that there is something deep in
human nature that regards face-to-face confrontation
between accused and accuser as “essential to a fair trial in
a criminal prosecution.” Pointer v. Texas, 380 U.S. 400,
404, 85 S.Ct. 1065, 1068, 13 L.Ed.2d 923 (1965). What was
true of old is no less true in modern times. President
Eisenhower once described face-to-face confrontation as
part of the code of his hometown of Abilene, Kansas. In
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                    MURPHY, J., dissenting.



Abilene, he said, it was necessary to “[m]eet anyone face to
face with whom you disagree. You could not sneak up on
him from behind, or do any damage to him, without
suffering the penalty of an outraged citizenry [. . .]. In this
country, if someone dislikes you, or accuses you, he must
come up in front. He cannot hide behind the shadow.”
Press release of remarks given to the B’nai B’rith Anti-
Defamation League, November 23, 1953, quoted in Pollitt,
supra, at 381. The phrase still persists, “Look me in the
eye and say that.” Given these human feelings of what is
necessary for fairness,[] the right of confrontation
“contributes to the establishment of a system of criminal
justice in which the perception as well as the reality of
fairness prevails.” Lee v. Illinois, 476 U.S. 530, 540, 106
S.Ct. 2056, 2062, 90 L.Ed.2d 514 (1986).

The perception that confrontation is essential to fairness
has persisted over the centuries because there is much
truth to it. A witness “may feel quite differently when he
has to repeat his story looking at the man whom he will
harm greatly by distorting or mistaking the facts. He can
now understand what sort of human being that man is.” Z.
Chafee, The Blessings of Liberty 35 (1956), quoted in Jay
v. Boyd, 351 U.S. 345, 375–376, 76 S.Ct. 919, 935–936, 100
L.Ed. 1242 (1956) (Douglas, J., dissenting). It is always
more difficult to tell a lie about a person “to his face” than
“behind his back.” In the former context, even if the lie is
told, it will often be told less convincingly.             The
Confrontation Clause does not, of course, compel the
witness to fix his eyes upon the defendant; he may
studiously look elsewhere, but the trier of fact will draw its
own conclusions.         Thus the right to face-to-face
confrontation serves much the same purpose as a less
explicit component of the Confrontation Clause that we
have had more frequent occasion to discuss–the right to
cross-examine the accuser; both “ensur[e] the integrity of
the fact-finding process.” Kentucky v. Stincer, supra, 482
U.S., at 736, 107 S.Ct., at 2662. The State can hardly
gainsay the profound effect upon a witness of standing in
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                                        MURPHY, J., dissenting.



                    the presence of the person the witness accuses, since that
                    is the very phenomenon it relies upon to establish the
                    potential “trauma” that allegedly justified the
                    extraordinary procedure in the present case. That face-to-
                    face presence may, unfortunately, upset the truthful rape
                    victim or abused child; but by the same token it may
                    confound and undo the false accuser, or reveal the child
                    coached by a malevolent adult. It is a truism that
                    constitutional protections have costs.

       Coy v. Iowa, 487 U.S. 1012, 1015-20, 101 L. Ed. 2d 857, 863-66 (1988) (footnote

       omitted).

¶ 57         Similar to the trial court’s failure to ask the juvenile whether he “was satisfied

       with his legal representation” in In re T.E.F., as well as the trial court’s failure to

       inform the juvenile “of his right to remain silent and the risk that any statements

       may be used against him . . . or of his right to deny the allegations” in In re A.W., the

       trial court here did not ask Walter whether he understood his admission of guilt

       waived his right to be confronted by the witnesses against him. N.C.G.S. § 7B-

       2407(a)(4) (2019); In re T.E.F., 359 N.C. at 575, 614 S.E.2d at 299; In re A.W., 182

       N.C. App. at 161, 641 S.E.2d at 356.

¶ 58         We must follow our Supreme Court’s precedent in In re T.E.F., as well as our

       application of that precedent in In re A.W. The Record in this case is clear that the

       juvenile suffered no prejudice in the acceptance of the plea offer from the State and

       is likely to suffer a more detrimental result from the setting aside of his agreement

       with the State. However, we cannot forego this precedent and create a totality of the
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                                        MURPHY, J., dissenting.



       circumstances approach to N.C.G.S. § 7B-2407(a) colloquies in a juvenile delinquency

       determination when the juvenile admits guilt. Even though the trial court complied

       with the standard form AOC-J-410 Transcript of Admission by Juvenile as

       recommended in dicta from our Supreme Court in In re T.E.F., I would reluctantly

       reverse the trial court’s orders and remand for further proceedings. In re T.E.F., at

       576, 614 S.E.2d 296, 299 (2005) (“We note that the Administrative Office of the Courts

       has available a standard form incorporating these statutory areas of inquiry.”).

           B. Sufficiency of the Written Adjudication Order–N.C.G.S. § 7B-2411

¶ 59         The Majority also determines the trial court’s adjudication order complied with

       N.C.G.S. § 7B-2411 and cites In re K.C. and In re J.V.J. to support its conclusion.

       Supra at ¶ 35. However, neither case supports the Majority’s conclusion “the trial

       court’s adjudication order of delinquency met and contained all of the requirements

       of [N.C.G.S. § 7B-2411].” Supra at ¶ 35.

¶ 60         In accordance with N.C.G.S. § 7B-2411,

                    [i]f the [trial] court finds that the allegations in the petition
                    have been proved as provided in [N.C.G.S. §] 7B-2409, the
                    [trial] court shall so state in a written order of adjudication,
                    which shall include, but not be limited to, the date of the
                    offense, the misdemeanor or felony classification of the
                    offense, and the date of adjudication. If the [trial] court
                    finds that the allegations have not been proved, the [trial]
                    court shall dismiss the petition with prejudice and the
                    juvenile shall be released from secure or nonsecure custody
                    if the juvenile is in custody.
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                                         MURPHY, J., dissenting.



       N.C.G.S. § 7B-2411 (2019) (emphasis added); see N.C.G.S. § 7B-2409 (2019) (“The

       allegations of a petition alleging the juvenile is delinquent shall be proved beyond a

       reasonable doubt. The allegations in a petition alleging undisciplined behavior shall

       be proved by clear and convincing evidence.”). The plain language of the statute

       requires a trial court’s order adjudicating a juvenile delinquent to at least find the

       allegations in the petition have been proved beyond a reasonable doubt. Id. That is

       not what happened here, where the trial court merely found “beyond a reasonable

       doubt that the juvenile[] is adjudicated delinquent.”

¶ 61          In In re K.C., we held that when the trial court’s written adjudication order

       “clearly states that the [trial] court considered the evidence and adjudicated [the

       juvenile] delinquent as to the petition’s allegation of simple assault beyond a

       reasonable doubt[,] . . . the [trial] court’s adjudication order satisfies [N.C.G.S. §] 7B-

       2411[.]” In re K.C., 226 N.C. App. 452, 461, 742 S.E.2d 239, 245 (2013) (emphasis

       added). Specifically, the trial court’s order in In re K.C. stated “the [trial] court finds

       beyond a reasonable doubt that the juvenile committed the offense of Sexual Battery

       and Simple Assault and he is ADJUDICATED DELINQUENT.” Id. at 460, 742

       S.E.2d at 245. Unlike In re J.V.J., where the order lacked a finding the allegations

       were proved beyond a reasonable doubt, the trial court’s order in In re K.C. contained

       a finding the allegation “of Sexual Battery and Simple Assault” had “been proven
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                                        MURPHY, J., dissenting.



       beyond a reasonable doubt[,]” and we affirmed “its simple assault adjudication as

       supported by sufficient findings of fact.” Id. at 460-61, 742 S.E.2d at 245.

¶ 62         In In re J.V.J., we noted “at a minimum, [N.C.G.S. §] 7B-2411 requires a [trial]

       court to state in a written order that the allegations in the petition have been proved

       beyond a reasonable doubt.” In re J.V.J., 209 N.C. App. 737, 740, 707 S.E.2d 636, 638
       (2011) (emphasis added) (internal marks omitted). We held the adjudication order

       failed to include the requisite findings when it

                    fail[ed] to address any of [the allegations in the petition] as
                    required by [N.C.G.S. §] 7B-2411. Indeed, the adjudication
                    order does not even summarily aver that the allegations in
                    the petition have been proved. . . . [The] findings
                    insufficiently address[ed] the allegations in the petition[,] .
                    . . [and] we remand[ed] [the] case to the trial court to make
                    the statutorily mandated findings[.]

       Id. at 740-41, 707 S.E.2d at 638 (internal marks omitted).

¶ 63         Here, the trial court’s order only stated it had considered the admission and

       evidence and found “beyond a reasonable doubt that the juvenile[] is adjudicated

       delinquent.” While the charges were listed below the quote, there was no mention

       that the allegation was proved beyond a reasonable doubt, as N.C.G.S. § 7B-2411

       requires. In re J.V.J. and In re K.C. do not change, but rather apply that statutory

       requirement. Additionally, neither In re K.C. nor In re J.V.J. declares a trial court’s

       order is sufficient for including a finding that the adjudication, and not the allegation,

       was proved beyond a reasonable doubt. The trial court’s order did not include any
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                                       MURPHY, J., dissenting.



       finding resembling the finding in the trial court’s order in In re K.C. that the

       allegation was proved beyond a reasonable doubt. Rather, similar to the order at

       issue in In re J.V.J., here “the adjudication order does not even summarily aver that

       the allegations in the petition have been proved[,]” and we should “remand this case

       to the trial court to make the statutorily mandated findings[.]” In re J.V.J., 209 N.C.

       App. at 740-41, 707 S.E.2d at 638 (internal marks omitted).

                                          CONCLUSION

¶ 64         In light of the insufficiency of the colloquy under N.C.G.S. § 7B-2407(a) and

       the insufficiency of the trial court’s adjudication order under N.C.G.S. § 7B-2411, I

       would reverse the trial court’s orders and remand for further proceedings. In light of

       the inadequacy of these aspects of the adjudicatory stage of the proceedings appealed

       here, I do not analyze whether the trial court abused its discretion in its choice of a

       disposition under N.C.G.S. § 7B-2501(c). I respectfully dissent.
